Case 20-11134-JKS           Doc 46     Filed 12/02/20 Entered 12/02/20 12:29:53               Desc Main
                                       Document     Page 1 of 3

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                       Order Filed on December 2, 2020
                                                                       by Clerk
Scott D. Sherman, Esq.                                                 U.S. Bankruptcy Court
Minion & Sherman                                                       District of New Jersey
33 Clinton Road - Suite 105
West Caldwell, New Jersey 07006
phone 973-882-2424
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ssherman@minionsherman.com
                                                           Case No.:               20-11134
                                                                             ____________________
In Re:
CATHERINE PELUSO                                           Chapter:                   13
                                                                             ____________________
                                       DEBTOR
                                                           Judge:                SHERWOOD
                                                                             ____________________



                                           LOSS MITIGATION ORDER


         The relief set forth on the following pages, numbered 2 and 3, is hereby ORDERED.




 DATED: December 2, 2020
Case 20-11134-JKS          Doc 46     Filed 12/02/20 Entered 12/02/20 12:29:53                  Desc Main
                                      Document     Page 2 of 3


                                                                            1/29/2020
         A Notice of Request for Loss Mitigation was filed by the debtor on ___________________ .

           A Notice of Request for Loss Mitigation was filed by the creditor,
        ________________________ on __________________.

       The court raised the issue of Loss Mitigation, and the parties having had notice and an
        opportunity to object, and the Court having reviewed any objections thereto.

    The Request concerns the following:
              42 Barinda Dr., East Hanover, NJ 07936
    Property: ________________________________________________________________
              BSI Financial
    Creditor: ________________________________________________________________


     It is hereby ORDERED that the Notice of Request for Loss Mitigation is denied.


       It is hereby ORDERED that the Notice of Request for Loss Mitigation is granted, and:

        x       The debtor and creditor listed above are directed to participate in Loss Mitigation and are
                 bound by the court’s Loss Mitigation Program and Procedures (LMP).

        x                                                      3/1/2021
                The Loss Mitigation process shall terminate on ________________ (90 days from the
                date of entry of this order, unless an Application for Extension or Early Termination of
                the Loss Mitigation Period is filed under Section IX.B of the LMP.)

        x       The debtor must make monthly adequate protection payments to the creditor during the
                Loss Mitigation Period in the amount of __________________ on the due date set forth
                in the note, including any grace period. See Section VII.B. of the LMP.

        x       If a relief from stay motion pursuant to section 362(d) is pending upon entry of this Order
                or if such a motion is filed during the loss mitigation period, the court may condition the
                stay upon compliance by the debtor with the fulfillment of the debtor’s obligations under
                the Loss Mitigation Order. If the debtor fails to comply with the loss mitigation process
                and this Order, the creditor may apply to terminate the Order as specified in Section
                IX.B. of the LMP and to obtain relief from the stay.




                                                     2
Case 20-11134-JKS       Doc 46      Filed 12/02/20 Entered 12/02/20 12:29:53                        Desc Main
                                    Document     Page 3 of 3

       x     Extension or early termination of the LMP may be requested as specified in
             Section IX.B of the LMP.


       x     If this case is dismissed during the loss mitigation period, loss mitigation is
             terminated effective on the date of the order of dismissal.


     It is ORDERED that parties shall utilize the Loss Mitigation Portal during the Loss
       Mitigation Period, and it is further ORDERED that:

       x     Within 14 days of the date of this order, the creditor shall ensure that it is
             registered on the loss mitigation portal and that all of its initial loss mitigation
             document requirements are available on the portal.

       x     Within 35 days of the date of this order, the debtor shall upload and submit
             through the loss mitigation portal a completed Creditor’s Initial Package.

       x     Within 14 days of the debtor’s submission of the Creditor’s Initial Package, the
             creditor shall acknowledge receipt of same and designate the single point of
             contact for debtor’s review.


     It is ORDERED that the debtor is excused from use of the Loss Mitigation Portal
       during the Loss Mitigation Period, and it is further ORDERED that:

       x     Within 14 days of the date of this order, the creditor shall designate a single point
             of contact, including the name and contact information of the contact and shall
             specify to the debtor the forms and documentation the creditor requires to initiate
             a review of the debtor’s loss mitigation options.

       x     Within 21 days after receipt of the creditor’s specifications regarding forms and
             documentation, the debtor shall provide the requested information.

       x     Within 14 days of the debtor’s submission, the creditor shall acknowledge receipt
             of the documentation.




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